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   1   DAVID ORTIZ, ATTORNEY #167587
       TRIAL ATTORNEY
   2   OFFICE OF THE UNITED STATES TRUSTEE
       880 FRONT STREET, ROOM 3230
   3   SAN DIEGO, CA 92101
       (619) 557-5013
   4
       Attorney for
   5   TIFFANY L. CARROLL
       ACTING UNITED STATES TRUSTEE
   6
   7
   8                              UNITED STATES BANKRUPTCY COURT
   9                                    Southern District of California
  10   In re                                       )       Case No. 22-02384-LT11
                                                   )
  11   BORREGO COMMUNITY HEALTH                    )       APPOINTMENT OF THE OFFICIAL
       FOUNDATION,                                 )       COMMITTEE OF UNSECURED
  12                                               )       CREDITORS
                                                   )
  13                         Debtor.               )
                                                   )
  14
  15           Pursuant to 11 U.S.C. §1102, the United States Trustee hereby appoints the following
  16
       members to serve on the Official Committee of Unsecured Creditors:
  17
         CREDITOR                                          REPRESENTATIVE
  18
         McKesson Corporation                              Pamela M. Craik
  19
         Attn: Pamela M. Craik,                            Pamela.craik@McKesson.com
  20     Regional Credit Director                          916-373-5222
         3775 Seaport Blvd.
  21     West Sacramento, CA 95691
  22
         Greenway Health, LLC                              Stephen Janes
  23     Attn: Stephen Janes                               Stephen.janes@greenwayhealth.com
         4301 W. Boy Scout Blvd., Suite 800                813-557-6241
  24     Tampa, FL 33607
  25
         We Klean Inc.                                     Aracelis Gutierrez
  26     1444 Main Street, #581                            agutierrez@weklean.org
         Ramona, CA 92065                                  nleal@weklean.org
  27                                                       619-375-1822
  28

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   1     Mustafa Bilal, DDS, Inc.                        Mustafa Bilala, DDS
         1210 S. Brookhurst St.                          VillageDentalGrouponline@yahoo.com
   2
         Anaheim, CA 92804                               714-606-8395
   3
         Vista Village Family Dentistry                  Mehrnaz Irani, DDS
   4     Attn: Mehrnaz Irani, DDS                        info@vistavillagefamilydentistry.com
         950 Civic Center Dr., Suite B                   760-208-4030
   5
         Vista, CA 92083
   6
         Vitamin D Public Relations, LLC                 Denise Gitsham
   7     Attn: Denise Gitsham                            dgitsham@gmail.com
         2534 Mankas Corner Rd.                          202-369-1619
   8
         Fairfield CA 94534
   9
         Pourshirazi & Youssefi Dental Corporation       Homayoun Pourshirazi
  10     31569 Canyon Estates Dr. Suite 120              Drhpemail@gmail.com
         Lake Elsinore, CA 92532                         951-775-5536
  11
  12
  13                                                      Respectfully submitted,
  14
                                                          TIFFANY L. CARROLL
  15                                                      ACTING UNITED STATES TRUSTEE

  16
       Dated: September 26, 2022                          By:/s/ David A. Ortiz
  17                                                      David A. Ortiz
                                                          Trial Attorney for the
  18                                                      Acting United States Trustee
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